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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-00096 JAM
12                                 Plaintiff,            AMENDED STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS UNDER SPEEDY
13                          v.                           TRIAL ACT; [PROPOSED] FINDINGS AND
                                                         ORDER
14   MAURICIO PORTILLO, AND
     IRMA GONZALEZ,                                      DATE: December 2, 2014
15                                                       TIME: 9:30 a.m.
                                  Defendants.            COURT: Hon. John A. Mendez
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17
                                                 STIPULATION
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            1.      By previous order, this matter was set for status on December 2, 2014.
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            2.      By this stipulation, defendants now move to continue the status conference until January
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     6, 2015 at 9:30 a.m., and to exclude time between December 2, 2014, and January 6, 2015 at 9:30 a.m.,
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     under Local Code T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)      The government has represented that the discovery associated with this case
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            includes hundreds of pages of written reports, three data-intensive wiretap discs, and dozens of
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            images. All of this discovery has been either produced directly to counsel and/or made available
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            for inspection and copying.
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                    b)      With regard to defendant Portillo, The United States Probation Office filed a pre-
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            plea PSR on October 16, 2014. The parties require time to determine the effect of these

      STIPULATION RE: SPEEDY TRIAL ACT;                  1
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 1          conclusions as they apply to the facts of the case, defendant’s chances at trial, and a potential

 2          settlement.

 3                  c)     Counsel for defendants desire additional time to consult with their respective

 4          clients, review the evidence, and weigh the possibility of settlement.

 5                  d)     Counsel for defendants believe that failure to grant the above-requested

 6          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 7          into account the exercise of due diligence.

 8                  e)     The government does not object to the continuance.

 9                  f)     Based on the above-stated findings, the ends of justice served by continuing the

10          case as requested outweigh the interest of the public and the defendant in a trial within the

11          original date prescribed by the Speedy Trial Act.

12                  g)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13          et seq., within which trial must commence, the time period of December 2, 2014 to January 6,

14          2015 at 9:30 a.m., inclusive, is deemed excludable pursuant to excluded under 18 U.S.C. sections

15          3161(h)(7)(A) and (B)(iv), corresponding to Local Codes T2 [complex case] and T4 [reasonable

16          time for defense counsel to prepare], because it results from a continuance granted by the Court

17          at defendants’ request on the basis of the Court’s finding that the ends of justice served by taking

18          such action outweigh the best interest of the public and the defendant in a speedy trial.

19          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

20 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

21 must commence.

22          IT IS SO STIPULATED.

23
     Dated: November 26, 2014                                 BENJAMIN B. WAGNER
24                                                            United States Attorney
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                                                              /s/ PAUL A. HEMESATH
26                                                            PAUL A. HEMESATH
                                                              Assistant United States Attorney
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 1
     Dated: November 26, 2014                         /s/ Donald Masuda
 2                                                    Donald Masuda
                                                      Counsel for Defendant IRMA GONZALEZ
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 6
     Dated: November 26, 2014                         /s/ Dina Santos
 7                                                    Dina Santos Counsel for Defendant
                                                      MAURICIO PORTILLO
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12                                        FINDINGS AND ORDER

13         IT IS SO FOUND AND ORDERED this 26th day of November, 2014.

14
                                                  /s/ John A. Mendez
15                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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      STIPULATION RE: SPEEDY TRIAL ACT;           3
      [PROPOSED] FINDINGS AND ORDER
